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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                                              ORDER

       The court has considered Defendants’ motions to continue their sentencing hearings. It is

constrained to deny them.

       The nature of this case requires that all nine Defendants be sentenced at or around the same

time. All Defendants were found guilty of one or more felony offenses relating to the events of

January 6, 2021. All but one of them (Defendant Caldwell) stands convicted of one or more

conspiracy offenses involving the other Defendants. Assessing Defendants’ respective roles and

conduct in the alleged conspiracies will be essential to determining proportionate sentencings.

Also, the court likely will be called upon to address legal issues that affect more than one

Defendant. A sequenced sentencing of the kind the court presently scheduled is therefore critical

to ensuring fair and equitable results.

       The court’s schedule will not permit moving these nine related sentencings. An extension

of the 30 to 60 days requested by Defendant Rhodes conflicts with the court’s scheduling of trial

for the three remaining co-conspirator Oath Keeper defendants in July 2023. See Def. Rhodes’

Sealed Mot. to Continue Sentencing and all Related Deadlines, ECF No. 496, at 1–2 [hereinafter

Rhodes Mot.]. The additional three weeks sought by Defendant Minuta conflicts with another

scheduled January 6 trial, United States v. Christie, 23-cr-5 (APM), and the D.C. Circuit Judicial
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Conference the following week. See Def. Roberto Minuta’s Mot. to Continue Sentencing, ECF

No. 482, at 2 [hereinafter Minuta Mot.]. The earliest the court could accommodate a similar,

sequenced sentencing schedule for all nine Defendants is early December 2023. The public

interest cuts against such an extended delay.

       Moreover, no Defendant has demonstrated good cause for a continuance. Mr. Rhodes

seeks a continuance primarily because he recently was moved to a new Bureau of Prisons facility.

See Rhodes Mot. at 1–2. But defense counsel does not explain why the four weeks that remain

before his sentencing memorandum is due on May 5, 2023, is not sufficient time to prepare, even

accounting for Mr. Rhodes’ recent movement. Additionally, Mr. Rhodes says that the offense

conduct described in the draft presentence investigation report (PSR) is inaccurate and “disregards

the fact that the jury did not agree with a substantial portions of the government’s theory of the

case.” Id. Even if that were true, counsel does not explain why an additional 30 to 60 days are

required to submit controverted facts to the PSR writer. In any event, the court has now heard the

relevant evidence across three different trials. If the PSR contains inaccuracies, the court will be

able to easily resolve them.

       Defendant Minuta asks for more time because his counsel is scheduled to serve as standby

counsel to Brandon Fellows, a pro se defendant whose jury trial is set to start on May 22, 2023.

See Minuta’s Mot. at 2. But counsel does not explain why a standby commitment will interfere

with submitting a sentencing memorandum 17 days earlier on May 5, 2023, or a reply ten days

later on May 15, 2023. Also, Mr. Minuta’s sentencing is scheduled for June 1, 2023, and

Mr. Fellows recently moved to continue his trial. See United States v. Brandon Fellows, 21-cr-

83 (TNM), Mot. to Continue, ECF No. 114. Even if the continuance is not granted, most




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January 6th, single-defendant cases have been tried in less than one week. If counsel remains in

trial as of June 1, 2023, the court can make an accommodation closer in time.

       Finally, Mr. Meggs seeks a continuance because his counsel has a trial starting on May 16,

2023, but that case has been continued. See Def. Meggs’s Mot. to Continue Sentencing, ECF No.

497-1, at 1–2; Gov’t Opp’n to Def.’s Mot. to Continue Sentencing, ECF No. 516, at 5. More

substantially, defense counsel has a personal health matter that he indicates will limit his

availability in the weeks before sentencing. However, the first appointment is scheduled for May

9, 2023, after the initial sentencing memorandum is due. The court is prepared to accommodate

counsel if he cannot carry out his duties in the following weeks. The court is not, however,

prepared to wholesale continue the sentencing scheduling at this time.

       Many of the remaining Defendants have simply joined in the motions already discussed

and have not articulated any reason for a continuance unique to them. See Notice of Joinder by

Jessica Watkins, ECF No. 499; Notice of Joinder by Thomas Edward Caldwell, ECF No. 502;

Notice of Joinder by Roberto A. Minuta, ECF No. 510; Notice of Joinder by Edward Vallejo, ECF

No. 511; Notice of Joinder by Kenneth Harrelson, ECF No. 513.

       For the foregoing reasons, the court cannot grant Defendants’ motions.          The court,

however, will extend the parties’ response date to the draft PSR from April 7, 2023, to April 14,

2023, and the due date of the final PSR to April 28, 2023. All other dates shall remain the same.




                                                           Amit P. Mehta
Date: April 10, 2023                                United States District Court Judge




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